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AO 91 (Rev. LI/L1)) Criminal Complaint

 

 

 

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UNITED STATES District CouRT anh {LED
for the Wergue Nyy
District of New Mexico DEc 1
a 0 2019
United States of America ).
Vv. ).
—
KENDON GOSSETT f Case No. } {3 - WA “ 24 5LZ
)
):
),
Defendant(s) °
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of November 17, 2018 '_ in the county of Santa Fe in the
oe _ Districtof New Mexico _, the defendant(s) violated:
Code Section : Offense Description
Title 18 U.S.C. Section 875(c) Threats via Interstate Communications

This criminal complaint is based on these facts:

See Attached.

Mf Continued on the attached sheet,

(eFC

cd
Complainant's signature

 

 

Russell S. Romero, Special Agent, FBI

 

Printed name and title

Sworn before me by reasonable electronic means.

Date: 12/09/2018 Kowsa

ae Y Judges signature

  

City and state: Albuquerque, NM Honorable Laura Fashing, US Magistrate Judge

 

Printed name and title

 

 
 

 

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IN THE UNITED STATES DISTRICT COURT

FOR THE
DISTRICT OF NEW MEXICO
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UNITED STATES OF AMERICA yo
yy
VS. ).
ys
KENDON GOSSETT a
YEAR OF BIRTH: 1994 )

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Russell Romero, being duly sworn, depose and say as follows:

l. Iam a Special Agent (“SA”) of thé Federal Bureau of Investigation (“FBI”), and
have been employed in that capacity since 2007, Iam a “federal law enforcement officer”
within the meaning of Federal Rule of Criminal Procedure 41(a)(2)(C). I am authorized to
investigate violations of Federal criminal ldw and possess the authority to execute
warrants issued under the authority of the United States. During my employment with the
FBI, I have conducted numerous investigations for suspected violations of federal law,
including participation in violent felony investigations. I have received training in how to
conduct complex investigations and I have participated in the execution of arrest warrants

in the past.

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2. This affidavit is submitted in support of an application for an arrest warrant for

Kendon GOSSETT. There is probable cause to believe that GOSSETT committed a

 

 
 

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violent felony related to a violation of Title 18 USC . § 875(c) — Threats via Interstate
Communications. |

3. The information set forth in this affidavit has been derived from my own
investigation, or communicated to me by othe sworn law enforcement officers or from
other sources.

4, Because this affidavit is being submitted for the limited purpose of securing an
arrest warrant, I have not included all known facts concerning this investigation. I have set
forth only the facts that are believed necessary to establish probable cause to support an
arrest warrant regarding violations of Title 1 8 US.C. § 875(c) — Threats via Interstate

Communications. '

PROBABLE CAUSE
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5. On November 17, 2018, Santa Fe County Sheriff's Department (SFCSD) Deputy
Edgar Madrid was dispatched to a residence in Stanley, New Mexico, in reference to a
welfare check. Deputy Madrid was advised that Deputy Paul Woo from the Pecos
County Sheriff's Department (PCSD) in Pecos County, Texas, had information that
Kendon GOSSETT made threatening posts on social media, to include one stating that
GOSSETT would be executing a mass shéoting

6. Deputy Madrid contacted Deputy: Woo via phone and confirmed his statement.
Deputy Woo stated that a woman called their office concerned about a post that
GOSSETT had made on Facebook. Depuiy Woo made contact with GOSSETT’s brother

who reported that GOSSETT is known to post “dumb stuff.” and did not think much of it.

GOSSETT’s brother stated that GOSSETT was upset and had been drinking alcohol.

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Deputy Woo was unable to make contact with GOSSETT. He later discovered
that GOSSETT lived in Stanley, New Mexico. and contacted SFCSD to conduct a
welfare check. Po

Upon arriving at the residence in Stanley. New Mexico, Deputy Madrid made
contact with GOSSETT. He told GOSSETT that the reason that he was there was
because of the posts that he made on Facebook.

GOSSETT admitted to making the posts and reported the reason that he did it was
because his lifelong friend had failed to stand up for him. GOSSETT stated that he was
angry and wanted to scare his friend. |

GOSSETT also stated that he had drank about 10o0z of rum, and suffers from
depression and has harmed himself in the past. Deputy Madrid asked GOSSETT if he
felt like killing himself, and GOSSETT stated that he did not. GOSSETT stated the sole
reason he made the posts was because he was angry, but had no intention to hurt anyone.
He also knew that it was “stupid” that he had made the posts and felt bad because he
knew that he had potentially scared people.

After speaking to GOSSETT, Deputy Madrid spoke with the homeowner, E.A.,
and his wife, C.A. E.A. stated that GOSSETT is his cousin and had moved to his house
approximately two months ago so that GOSSETT could find a job and have more
opportunities. 2 |

E.A. reported that GOSSETT had not smoked marijuana or meth since he moved
to New Mexico, but has dealt with substarice abuse in the past. E.A. also reported that
his (E.A.’s) weapons are secure in a gun safe and are inaccessible to GOSSETT.

E.A. also reported that the only person that GOSSETT has developed a closer

relationship with was his cousin, C.E., who lives a few miles away.

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C.E. has a criminal history that includes controlled substance (trafficking and
possession) and firearms violations. |

After the welfare check was complete, GOSSETT was transported to Kaseman
Hospital in Albuquerque for a psychiatric evaluation.

On November 30, 2018, Deputy Madrid provided me, via email. with screen
shots of the Facebook posts made by GOSSETT. Each post showed a username “Ken
Gossett.” :

The first of the posts read, “So many people are going to die. I bet they will be
laughing just like they are now as they make fun of me and hurt me and lie.”

The second post read, “You will al be laughing. Laughing at how you made fun
of me and believed me to be, and made me out.to be something im not.”

The third post read. “But as corpses you wont make a sound...Blissful silence in
which i can play good music.” |

The fourth and final post read, “Play close attention to the news. I am the next
face behind a mass murder.” a

On December 07, 2018, I made ecintact with PCSD Deputy Woo via phone.
Deputy Woo advised me that the woman who made the initial complaint contacted his
office late in the evening on Saturday, November 17, 2018. At that time, she was located
in Midland, TX, and she had known GOSSETT in high school. She thought that he still

lived in Fort Stockton, TX, and that is why she contacted the PCSD. She saw the posts

come up on Facebook that night, and told Deputy Woo that she “couldn’t ignore” them.

 

 
 

 

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SUMMARY

Based on the information set forth in this affidavit, | submit that there is probable
cause to believe that Kendon GOSSETT did unlawfully commit a felony by posting
threats on Facebook to include, “Play close attention to the news. I am the next face
behind a mass murder.” on November 17. 2018.

When the posts were made, the initial reporting party saw the posts on her
Facebook page while in Midland, Texas. That'same evening, SFCSO Deputy Madrid
made contact with GOSSETT in Stanley, New Mexico. GOSSETT had been in New
Mexico for approximately two months. and adinitted to making the posts when
interviewed by Deputy Madrid. Thereby, the threatening posts were made utilizing
interstate communications. |

I further submit that the aforementioned posts were made in violation of Title 18
U.S.C. § 875(c) — Threats via Interstate Cémmunications.

On December 09. 2018, AUSA Jack Burkhead reviewed and approved this

affidavit.

I swear that this information is true and correct toithe best of my knowledge.

i,
Russell S. Romero

Special Agent
Federal Bureau of Investigation

Sworn to before me by reasonable electronic mearis this 9" day of December, 2018.

Zen |

(Aonorable Laur&Fashing,
United States Magistrate Judge

 

 
